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                        EXHIBIT A
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                                                                                                           OMB No. 1615-0099; Expires 07/31/2016
Department of Homeland Security                                  Form 1-914, Supplement B, Declaration of Law
U.S. Citizenship and Immigration Services                Enforcement Officer for Victim of Trafficking in Persons
START HERE - Type or print in blank ink. This form should be completed by                                      For USCIS Use Only
Federal, State, or local law enforcement authorities for victims under the Victims of
Trafficking and Violence Protection Act, Public Law 106-386, as amended.                                  Returned               Receipt

PART A. Victim Information                                                                              Date

Family Name (Last Name)              Given Name (First Name)      Middle Name (ifany)                   Date
~IT_E_K_L_E_ _ _ _ _ _ _ __.ll       ~s-i_m_r_e_t---''------'--~,,~s_e_m_e_r_e_ _ _ _ __..               Resubmitted
Other Names Used (include maiden name/nickname)
                                                                                                        Date
None
                                                                                                        Date
Date of Birth (mmldd!yyyy)                                 Gender


'-'---------'
A-Number (ifknown)
-~---.
                                                           0     Male   121 Female
                                                           Social Security Number (if known)
                                                                                                          Reloc Sent

                                                                                                        Date

                                                                                                        Date
Part B.       Agency Informatfon                                                                         Reloc Rec'd
Name of Certifying Agency                                                                               Date
Homeland Security Investigations, Washington DC
                                                                                                        Date
Name of Certifying Official                      Title and Division/Office of Certifying Official
!Loretta Veres                               I
                                    IGrO'l.lP Supervisor/ HSI DC                                    I                  Remarks

Agency Address - Street Number-and Name                        Suite No.
                                                                                 I             _,
City                                 State/Province                         Zip/Postal Code
                                     lvij;ginia                         I            _ _ _ _~
Daytime Phone.No. (area code and/or exte11Sio11)               Fax No. {with area code)
1                                                         I
Agency Type
121 Federal          0   State       0   Local

Case Status
121 On-going         0   Completed       0   Local

Certifying Agency Category
0  Judge       121
               Law Enforcement               0    Prosecutor     0   Other - - - - - - -

Case Number                                          FBI No. or SID No. (if qppli~ab,e)
loc15IT13DC0016

Part C. Statement of Claim
I. The applicant is or has been a victim ofa severe fonn of trafficking in persons. Specifically, he or sh".. is a victim of: (Check all
   that apply. Base your analysis on the practices Jo which the victim was subjected rather than on the specific violations charged. the
   counts on which convictions were obtained, or whelher any prosecution resulted in convictions. Note that the definitions tho/
   control this analysis are not the elements ofcriminal offenses, but are those set forth at 8 CFR 214.1 J(a)J

    0    Sex trafficking in which a commercial sex act was induced by force, fraud, or coercion. Sex trafficking means the
         recruitment, harboring, transportation, provision, or obtaining of a person for the purpose of a commercial sex act.

    0    Sex trafficking and the victim is under the age of 18.



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 Part C. Statement of Claim               (Continued)


    jg] The recruitment, harborfog, transportation, provision, or obtaining of a person for labor or services lhrough the use of force,
         fraud, or coercion for subjection to invoJUntary servitude, peonage, de.ht bondage, or slavery.

    0    Not applicable.

    0    Other, specify on attached additional sheets.

2. Please describe the victimization upon which the applicant's claim is based and identify the relationship b!;':tweeh that victimization
    and the crime under investigation/prosecution. Attach the results ofany name or database inquiry performed in the investigation of
    the case, as well as any relevant reports and findings. Include relevant dates, etc. Attach additional sheets, if necessary.
     Tekle was victimized through the coin/nission of violations of 18 use 1546, Visa Fraud
     and 18 use 1589, Forced Labor when she was trafficked into the us. When Tekle arrived
     in the US she was instructed by her employer that she was prohibited from leaving the
     residence, she was prohibited from taking breaks, and she was not allowed to speak with
     anyone outside the residence. Tekle was also told by her employer that Americans would
     attack her if she went outside. Tekle said she was cal.l ed a "whore," "colored" and a
     11 donkey 11 by her employer.           Tekle said she was constantly monitored by video surv:eillance
     and her passport was confiscated by her employer when she entered the us.


3·. Has the applicant expressed any fear ofretaliation or revenge if removed from the United States? If yes, explain. Attach additional
    sheets, if necessary.
    The only fear Tekle expressed was for her aunt in Saudi Arabia who she believes could
    be jailed based on her decision to leave her em~loyers.




4. Provide the date(s) on which the acts of trafficking occurred.
    Date (mmlddlyyyy)                  Date (111111/dd!yyyy)             .....D_a_te"""(o_m_11_z!di...,'d~       'l _____, Date (111111/ddlyyyy)
                                                                                                       . V&n"""'.....
   ~lo-11_.01-1-20_1......
                     2 "-"-'-----.ll._04_/_01_1_20_1_2_ _ ___.II                          .                         I ._I_ _ _ _ _ ___,

5. List the statutory citation(s) for the acts of trafficking being investigated or prosecuted, or that were investigated or prosecuted.
    18   u.s.c.      1589- Forced Labor and 18 U.S.C. 1546- Visa Fraud



6. Provide the date on which the investigation or prosecution was initiated.
    Date (111111/ddlyyyy)
   101/14/2013


7. Provide the date on which the investigation or prosecution was completed (if an)~.
    Date (mml{j_dlyyyy)



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Part D. Cooperation of Victim (4,ttaqh           a.fldUi~mal sheets,   ifnecessary}
The applicant:
    lg] Has complied with requests for assistance in the investigation/prosecution of the crime of trafficking. (&plain below.)
    0   Has failed to comply with requests to assist .in the investigation/prosecution of the crime of trafficking. (Explain below.)
    0   Has not been requested to assist in the investigation/prosecution of any crime of trafficking.
    D   Has not yet attained the age of 18.
    0   Other, specify on attached additional sheets.
        Tekle has participated in an interview with officials from the US Department of
        State-Diplomatic Security Service, Homeland Security Investigations, and the US
        Department of Justice.




Part E. Family Members Implicated In Trafficking
O   Yes lg] No      Are any of the applicant's family members believed to have beell involved in his or her trafficking to the United
                    States? If "Yes," list the relative(s) and describe the involvemenr Attach additional sheets if neceiisary.

                     Full Name                            Relationship             Involvement




Part F. Attestation
Based upon investigation of the facts, I certify; under penalty of perjury, that the above noted individual is or has been avictim of a
severe fonn of trafficking in persons as defined by the VTVPA. l certify that the above infonnation is true and correct to the best of
my knowledge, and that 1 have made, and will make, no promises regarding the above victim's ability to obtain a visa from U.S.
Citizenship and Immigration Services, based upon this certification. I further certify that if the victim unreasonably refuses to assist in
                                 of
the investigation or prosecution the acts of trafficking of which he/she is a victim, I will notify USCJS.

Signature of Law Enforcement Officer· (identified in Part BJ                                                      Date (mmlddlyyyy)



Signat~l~_?P11f C~-                                                                                               Date (mnvddjyyyy)

~'~l~~
    - ~-~/~·-~-~~~~~~~~~~~~I l1f2'f1S
Printed Name of Su crvisor
Clar~    E. Settles, Special Agent in Charge



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